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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:23-cr-00119 (ABJ)
                                             :
JAMES MCNAMARA                               :
                                             :
                      Defendant.             :



                         UNOPPOSED MOTION TO SCHEDULE
                    ARRAIGNMENT AND CHANGE OF PLEA HEARING

       The parties have reached a plea agreement in this case for the defendant to plead guilty to

the single-count felony Information filed in this case. The United States respectfully requests the

Court to set a date, time, and location for an arraignment and change of plea hearing in the above-

styled case.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar Number 481052


                                                 By: /s/ Andrew J. Tessman
                                                      ANDREW J. TESSMAN
                                                     Assistant United States Attorney
                                                     District of Columbia – Detailee
                                                     West Virginia Bar No. 13734
                                                     300 Virginia Street
                                                     Charleston, WV 25301
                                                     (304) 345-2200
                                                     Andrew.Tessman@usdoj.gov
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                                 CERTIFICATE OF SERVICE

       It is hereby certified that the foregoing document has been electronically filed and service

has been made on opposing counsel by virtue of such electronic filing this date.



                                                    /s/ Andrew J. Tessman
                                                    Assistant United States Attorney




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